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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 NATIONAL STUDENT LEGAL DEFENSE
 NETWORK,

                Plaintiff,

                         v.                                 Civil Action No. 19-3264 (EGS)

 UNITED STATES DEPARTMENT OF
 EDUCATION,

               Defendant.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order entered on January 13, 2021, Plaintiff National

Student Legal Defense Network (“Plaintiff”) and Defendant the United States Department of

Education (“Defendant”) hereby provide the Court with the following Joint Status Report. The

parties have resolved the substantive issues in the Freedom of Information Act case, and have

reached an agreement in principle regarding Plaintiff’s claim for fees and costs. The parties require

a limited amount of additional time to finalize the agreement and therefore propose that the parties

file a stipulation of dismissal or a further joint status report by March 15, 2021.

Dated: February 12, 2021

                                       Respectfully submitted,

                                       /s/ Robyn K. Bitner
                                       Robyn K. Bitner (D.C. Bar No. 1617036)
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